                    IN THE SUPREME COURT OF NORTH CAROLINA

                                        2021-NCSC-124

                                          No. 284PA20

                                     Filed 29 October 2021

     STATE OF NORTH CAROLINA

                   v.
     JEREMY WADE DEW


           On discretionary review pursuant to N.C.G.S. § 7A-31 of a unanimous decision

     of the Court of Appeals, 270 N.C. App. 458, 462 (2020), finding no error after appeal

     from judgments entered on 7 February 2018 by Judge John E. Nobles Jr. in Superior

     Court, Carteret County. Heard in the Supreme Court on 24 March 2021.


           Joshua H. Stein, Attorney General, by Wes Saunders, Assistant Attorney
           General, for the State-appellee.

           Glenn Gerding, Appellate Defender, by Daniel Shatz, Assistant Appellate
           Defender, for the defendant-appellant.


           HUDSON, Justice.

¶1         Here we must determine whether there is sufficient evidence, in the light most

     favorable to the State, that defendant committed multiple assaults against his

     girlfriend when the testimony tended to show that he beat her in her family’s trailer

     and also in her car as they traveled home. Because we conclude that there was

     sufficient evidence of multiple assaults to submit the issue to the jury, we hold that

     the trial court did not err by denying defendant’s motion to dismiss all but one assault
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     charge.

                       I.   Factual and Procedural Background

¶2          In 2016, Mindy Ray Davis and defendant Jeremy Wade Dew were in a

     relationship and living together in Sims, North Carolina. On 29 July 2016, Davis and

     defendant drove to Atlantic Beach with defendant’s four-year-old daughter to spend

     the weekend with Davis’s parents who owned a trailer there. Both Davis and

     defendant testified at trial, but gave different accounts of the events that occurred

     between 29 July and 31 July 2016.

¶3          The following is a summary of Davis’s account: On 30 July 2016, defendant,

     Davis, and defendant’s daughter spent the evening outside socializing with

     neighbors. Davis testified that around 9:00 p.m., she took defendant’s daughter back

     inside the trailer to put her to bed. The trailer had three bedrooms. The bedroom at

     the front of the trailer where defendant and Davis stayed was separated from the

     other two bedrooms by the communal living spaces. Davis stayed with defendant’s

     daughter until she fell asleep on the couch in the living room around 9:30 p.m. or 9:45

     p.m.

¶4          When Davis went back outside, she and defendant went a few trailers over to

     hang out with her cousin from Virginia. According to her testimony, Davis danced

     with her cousin and defendant’s “whole demeanor changed.” Defendant left the trailer

     and got in the car, drove down the street of the trailer park, drove back, and
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     ultimately went inside the trailer he was staying in with Davis and locked Davis out.

     After Davis called defendant’s phone several times and knocked on the window of the

     trailer, defendant let her into the trailer.

¶5         Once inside, Davis walked to the bedroom at the front of the trailer to change

     into clothing to sleep in. Davis testified that defendant “just hauled off and hit [her]

     upside the head.” She testified that defendant hit her “over and over,”—a continuous,

     nonstop beating—for at least two hours. Specifically, defendant hit her “upside the

     head and ear, on each side,” “kicked [her] in the chest,” bit her nose and her ear,

     “punched [her] in the nose,” “head-butted [her] twice,” and “strangled [her] until

     vomiting.” She recounted that during the attack defendant called her a “slut” and told

     her that she embarrassed him and that she was making him do this.

¶6         Davis testified that she did not fight him back because she was too scared and

     had never been through anything like that before. Defendant also threatened to

     throw her in the Buckhorn Reservoir if Davis said anything to defendant’s ex-wife

     and told Davis he could be the next “Tick Bailey,” a reference to a man who killed his

     ex-wife. Davis testified that defendant told her if she made any noise, he would kill

     everyone in the trailer.

¶7         When the beating was over, defendant said “[w]e’re leaving and we’re going

     home.” He made Davis take the sheets off the bed, which were stained with her blood,

     and clean the mattress cover. Davis wiped down the mattress cover and took the
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       sheets off the bed and put them on the dresser. Davis grabbed their bags and took

       them out to the car. At that point, defendant went to get his daughter off the couch

       and made Davis get into the driver’s seat of the car. He then changed his mind and

       made Davis get into the passenger’s seat. Defendant put his daughter in the backseat

       of the car.

¶8            Davis testified that during the entire car ride back to Sims defendant hit her

       on the side of her head where she ultimately ended up with a ruptured eardrum.

       Defendant pulled off the road several times, reached over and was “jacking [her] up

       to the ceiling of the car, strangling [her].” Davis estimated that three times defendant

       made her take off her seat belt and open the door, and told her that he was going to

       push her out. Defendant also threw Davis’s phone out of the window of the car.

¶9            They arrived in Sims approximately two hours after they left Atlantic Beach.

       When they arrived, defendant told Davis that if she called the police or went to stay

       with her sister, he would cut himself with a knife and say that she did it so that she

       would have to go to jail. Davis testified that she believed defendant because she

       thought he was “crazy enough to do something like that.” The next morning, Davis’s

       sister came to the house and called 911.

¶ 10          The parties stipulated that Davis suffered a concussion, a ruptured eardrum,

       and a nondisplaced nose fracture. She underwent two surgeries to save her hearing

       due to the ruptured eardrum.
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¶ 11         Defendant also testified at trial. According to defendant, sometime after dinner

       on 30 July 2016, he and Davis went to a party a few trailers down from Davis’s

       parents’ trailer. They were at the party for about an hour and a half, and defendant

       went back to the trailer to check on his daughter every once in a while.

¶ 12         One time after checking on his daughter, defendant returned to find Davis

       “with another man.” Defendant testified that he felt “disgusted,” “angry,” “[h]urt,”

       and “[e]mbarrassed.” He went back to the trailer and debated calling his parents to

       pick him and his daughter up, but decided not to. Defendant did not remember

       locking the trailer door, but he received a text from Davis that said she was locked

       out, so defendant unlocked the door for her, and she came inside. According to

       defendant, Davis tried to frantically explain the situation while defendant began

       packing up his things to leave.

¶ 13         Defendant testified that when he bent over to get his cell phone charger, Davis

       came up behind him, bit him on his left shoulder, wrapped her nails around him, and

       hit him. In response, defendant bucked his head back “pretty hard” into her head “[t]o

       get her off” of him three or four times. Defendant and Davis fell face first on the floor,

       and there was a tussle to get up. Defendant testified that the whole episode lasted

       about two minutes. Afterwards, he said they both calmed down and went out onto the

       porch to smoke a cigarette together. Defendant denied biting Davis on the nose or the

       ear but acknowledged that his head hit her in the nose. He denied beating Davis for
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       two hours in the trailer and for two hours on the ride home. He also testified that he

       did not know what happened to her phone.

¶ 14         Defendant testified that it was Davis’s idea to go home that night. Defendant

       got his daughter and put her in the car seat in the back seat of the car while Davis

       was in the driver’s seat warming up the car. According to defendant, Davis drove the

       whole way home and they just listened to the radio. When they arrived at the house

       in Sims, defendant put his daughter in bed and defendant and Davis went to sleep in

       the same bed. Defendant testified that the next morning Davis’s sister came over and

       was “screaming and hollering.” Defendant put his daughter in his car and drove to

       his parents’ house.

¶ 15         On 1 August 2016, defendant was arrested. The defendant went to trial on the

       following five bills of information in which he was charged with the following seven

       offenses:

              16CRS53232            First-degree kidnapping
              16CRS53233            1 – Assault by strangulation
                                    2 – Assault with a deadly weapon inflicting
                                    serious injury through fists and hands resulting
                                    in a ruptured eardrum

              16CRS53234            Assault on a female through a kick to the head
              16CRS53235            Assault on a female through a headbutt to the
                                    forehead
              16CRS53236            1 – Assault with a deadly weapon inflicting
                                    serious injury through fists, hands, and teeth
                                    resulting in a fractured nose
                                    2 – Communicating threats
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       The trial began 5 February 2018, and the jury convicted defendant on all charges

       except two: the assault by strangulation, and assault on a female by kick to the chest.

       The trial court entered a consolidated judgment in sentencing defendant to a

       minimum of 75 months and a maximum of 102 months in prison. Defendant appealed

       to the Court of Appeals.

¶ 16         The Court of Appeals found no error. Defendant filed a petition for

       discretionary review, which we allowed on 12 August 2020.

                              II.   Issues Presented for Review

¶ 17         On discretionary review, defendant raises two issues: (1) whether there was

       insufficient evidence of multiple assaults such that the trial court erred by denying

       defendant’s motion to dismiss all but one assault charge; and (2) whether there was

       sufficient evidence to establish that defendant used his hands, feet, or teeth as deadly

       weapons. As to the second issue, the members of the Court are equally divided.

       Accordingly, the decision of the Court of Appeals as to this issue stands as law of this

       case without precedential value and we spend the remainder of this opinion

       discussing only the first issue presented. See, e.g., Piro v. McKeever, 369 N.C. 291,

       291 (2016) (per curiam) (affirming a Court of Appeals opinion without precedential

       value by an equally divided vote); CommScope Credit Union v. Butler &amp; Burke, LLP,

       369 N.C. 48, 56 (2016) (same).
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                                      III.      Preservation

¶ 18         Defendant moved to dismiss the deadly weapon element of his assault charges

       at the close of the State’s evidence arguing that insufficient evidence was presented

       to show that his hands could be considered deadly weapons. He renewed his motion

       at the close of all of the evidence, mentioning that the bills of information did not

       include the correct dates of the offense. The Court of Appeals held that defendant’s

       failure to argue before the trial court that the evidence established only one assault

       resulted in a failure to preserve this argument for appellate review. State v. Dew, 270

       N.C. App. 458, 462 (2020). We disagree.

¶ 19         We recently held in State v. Golder, 374 N.C. 238 (2020), that “merely moving

       to dismiss at the proper time under Rule 10(a)(3) preserves all issues related to the

       sufficiency of the evidence for appellate review.” Id. at 249. Additionally, in his

       petition for discretionary review, defendant requested review of the following issue:

       “[w]hether the Court of Appeals erred by affirming multiple counts of assault where

       the defendant struck multiple blows, causing multiple injuries, in a single episode.”

       Defendant’s motion to dismiss for insufficient evidence preserved all sufficiency

       issues, and we allowed defendant’s petition for discretionary review. Accordingly, the

       issue of whether the trial court erred by failing to dismiss all but one count of assault

       is properly before us for consideration.
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                                  IV.      Standard of Review

¶ 20         It is well established that

                    [w]hen ruling on a motion to dismiss, the trial court must
                    determine whether the prosecution has presented
                    substantial evidence of each essential element of the crime.
                    Substantial evidence is that amount of relevant evidence
                    that a reasonable mind might accept as adequate to
                    support a conclusion. In making its decision, the trial court
                    must view the evidence in the light most favorable to the
                    State.

       State v. Bell, 359 N.C. 1, 25 (2004) (cleaned up) (first quoting State v. Call, 349 N.C.

       382, 417 (1998); then quoting State v. Williams, 355 N.C. 501, 579 (2002), cert. denied,

       537 U.S. 1125 (2003); and then quoting State v. Hyatt, 355 N.C. 642, 666 (2002), cert.

       denied, 537 U.S. 1133 (2003)).

                                           V.    Analysis

¶ 21         Here, defendant was charged with seven offenses, including five assault

       charges, and the jury found him guilty of three assault charges, to wit: AWDWISI

       (No. 53233) with hands/fists resulting in a ruptured eardrum, assault on a female

       (No. 53233) headbutt to forehead, and AWDWISI (No. 53236) with hands/fists

       resulting in a fractured nose. The three assault charges for which defendant was

       found guilty were assault with a deadly weapon inflicting serious injury resulting in

       the ruptured eardrum, assault on a female in connection with the headbutt to the

       forehead, and assault with a deadly weapon inflicting serious injury resulting in the

       fractured nose. Accordingly, we must now examine whether, in the light most
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       favorable to the State, there was substantial evidence of each essential element of

       each of these instances of assault on a female or assault inflicting serious injury.1

¶ 22          One of the essential elements of both assault on a female and assault with a

       deadly weapon inflicting serious injury is "an assault." See N.C.G.S. § 14-33(c)(2)

       (2019); N.C.G.S. § 14-32(b) (2019).2 Here we are asked to determine what exactly

       constitutes an assault and how a court may determine whether there is substantial

       evidence of multiple assaults or only a single assault.

¶ 23          “Although our statutes criminalize the act of assault, ‘[t]here is no statutory

       definition of assault in North Carolina, and the crime of assault is governed by

       common law rules.’ ” State v. Floyd, 369 N.C. 329, 335 (2016) (alteration in original)


              1 As noted above, the members of this Court are equally divided as to whether there

       was substantial evidence that defendant’s hands, feet, and teeth were used as deadly
       weapons. Accordingly, we affirm without precedential value the holding of the Court of
       Appeals that the trial court did not err by denying defendant’s motion to dismiss the deadly
       weapon element of these two counts of assault because the State had presented sufficient
       evidence that defendant’s hands, feet, and teeth were used as deadly weapons. Our analysis
       of the assault with a deadly weapon inflicting serious injury charges would also be applicable
       to an analysis of the lesser included offense of assault inflicting serious injury. Therefore,
       this opinion should not be construed to say conclusively one way or the other whether hands,
       feet, and teeth are deadly weapons.
               2 We note that the bills of information indicate that defendant was charged under

       N.C.G.S. § 14-32(a), which provides that “[a]ny person who assaults another person with a
       deadly weapon with intent to kill and inflicts serious injury shall be punished as a Class C
       felon.” However, the bills of information classify the offense as a Class E felony and do not
       include the language of intent to kill. Therefore, it may be that defendant was actually
       charged under N.C.G.S. § 14-32(b), which provides that “[a]ny person who assaults another
       person with a deadly weapon and inflicts serious injury shall be punished as a Class E felon.”
               Because our focus is on the first element of the offense, “assault” it makes no difference
       to our analysis whether defendant was charged under N.C.G.S. § 14-32(a) or N.C.G.S. § 14-
       32(b). Furthermore, neither party raised this potential discrepancy as an issue at any stage
       of the litigation.
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(citation omitted) (quoting State v. Roberts, 270 N.C. 655, 658 (1967)). “This Court

generally defines the common law offense of assault as ‘an overt act or an attempt, or

the unequivocal appearance of an attempt, with force and violence, to do some

immediate physical injury to the person of another, which show of force or menace of

violence must be sufficient to put a person of reasonable firmness in fear of immediate

bodily harm.’ ” Roberts, 270 N.C. at 658 (quoting 1 Strong’s North Carolina

Index, Assault and Battery § 4 (1957)). Black’s Law Dictionary defines “assault” as

“[t]he threat or use of force on another that causes that person to have a reasonable

apprehension of imminent harmful or offensive contact” and “[p]opularly, any

attack.” Assault, Black’s Law Dictionary (11th ed. 2019). From these definitions, we

gather that assault is a broad concept that can include more than one contact with

another person. For example, an “attack” or “show of force” may refer to a single

punch but could also refer to a deluge of punches in a single fight and still be called

a single assault. We have not found, and the parties have not presented, any evidence

or indication that the General Assembly intended for the State to be able to charge

someone with a separate assault for every punch thrown in a fight. Indeed, the State

made clear in its argument that it did not think it would be appropriate to charge

someone for every punch in a fight. Thus, we must look beyond the number of physical

contacts with the victim to determine whether more than one assault has occurred

such that the State can appropriately charge a defendant with multiple assaults.
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¶ 24         The question of how to delineate between assaults—to know where one assault

       ends and another begins—in order to determine whether the State may charge a

       defendant with multiple assaults, is an issue of first impression in our Court. The

       Court of Appeals has analyzed this issue several times. See, e.g., State v. Brooks, 138

       N.C. App. 185, 190–91 (2000) (holding that the defendant could only be charged with

       a single count of assault with a deadly weapon inflicting serious injury where there

       was no evidence of a distinct interruption between three gunshots); State v.

       Littlejohn, 158 N.C. App. 628, 636 (2003) (holding that the defendant could be charged

       with two counts of assault where the evidence tended to establish that the assaults

       were distinct in time and inflicted wounds in different parts of the victim’s body);

       State v. McCoy, 174 N.C. App. 105 (2005) (holding that the defendant could be

       charged with two counts of assault where the evidence showed the assaults took place

       on two different days, but could not be charged with multiple counts of assault arising

       from a single continuous transaction on one of those days). In brief, the Court of

       Appeals has required that “[i]n order for a criminal defendant to be charged and

       convicted of two separate counts of assault stemming from one transaction, the

       evidence must establish ‘a distinct interruption in the original assault followed by a

       second assault[,]’ so that the subsequent assault may be deemed separate and distinct

       from the first.” Littlejohn, 158 N.C. App. at 635 (second alteration in original)

       (quoting Brooks, 138 N.C. App. at 189). But it is not always easy to determine when
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       a “distinct interruption” has occurred.

¶ 25          In some cases, the Court of Appeals has chosen to apply our decision in State

       v. Rambert, 341 N.C. 173 (1995). In Rambert, the defendant was charged and

       convicted of three counts of discharging a firearm into occupied property. Id. at 174.

       The defendant argued on appeal that evidence that he fired three shots into occupied

       property within a short period of time supported only a single conviction and

       sentence, not three, for discharging a firearm into occupied property. Id. We

       concluded that “the evidence clearly show[ed] that [the] defendant was not charged

       three times with the same offense for the same act but was charged for three separate

       and distinct acts.” Id. at 176. We noted that (1) the defendant employed his thought

       processes each time he fired the weapon, (2) each act was distinct in time, and (3)

       each bullet hit the vehicle in a different place. Id. at 177. Accordingly, we determined

       that each time the defendant discharged his firearm could be charged as a separate

       offense. Id.
¶ 26          Here, the Court of Appeals applied the three factors from Rambert to

       determine whether there was a distinct interruption between assaults. Dew, 270 N.C.

       App. at 462–63. The State argues that we should likewise apply the Rambert factors

       and conclude that multiple assaults occurred on the night in question. Although we

       appreciate that Rambert may be the most closely analogous case from our Court to

       date, we decline to extend Rambert to assault cases generally. Rambert resolved an
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       issue involving the discharge of a firearm, an act which differs from the physical

       assaults here in important ways. Discharging a firearm means firing a shot; each

       distinctly fired shot is a separate discharge of a firearm. The same is not true of

       assault which, as explained above, might refer to a single harmful contact or several

       harmful contacts within a single incident. Multiple contacts can still be considered a

       single assault, even though each punch or kick would require a different thought

       process, would not occur simultaneously, and would land in different places on the

       victim’s body. These two distinct crimes require two distinct analyses. Accordingly,

       we conclude that the Rambert factors are not the ideal analogy for an assault

       analysis.

¶ 27         We agree with the Court of Appeals that the State may charge a defendant

       with multiple counts of assault only when there is substantial evidence that a distinct

       interruption occurred between assaults. Building on the Court of Appeals’

       jurisprudence, we now take the opportunity to provide examples but not an exclusive

       list to further explain what can qualify as a distinct interruption: a distinct

       interruption may take the form of an intervening event, a lapse of time in which a

       reasonable person could calm down, an interruption in the momentum of the attack,

       a change in location, or some other clear break delineating the end of one assault and

       the beginning of another.

¶ 28         Based on the facts here, we think it is important to further explain what does
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       not constitute a distinct interruption. The State’s charges here seem to be based on

       the victim’s injuries. But the fact that a victim has multiple, distinct injuries alone is

       not sufficient evidence of a distinct interruption such that a defendant can be charged

       with multiple counts of assault. The magnitude of the harm done to the victim can be

       taken into account during sentencing but does not automatically permit the State to

       stack charges against a defendant without evidence of a distinct interruption.

¶ 29         Evidence that a defendant used different methods of attack can show a distinct

       interruption depending on the totality of the circumstances. Here the State has

       argued that defendant punched and headbutted the victim and that because there

       was no evidence that these different methods of attack occurred at the exact same

       time, each method constituted a separate assault. We disagree. As we explained

       above, the concept of an assault can be broader than each individual harmful contact,

       but allowing for a separate charge for each non-simultaneous contact would erase any

       limiting principle and allow the State to charge a defendant for every punch in a fight.

       Requiring the State’s case to include evidence of a “distinct interruption” in an

       otherwise continuous assault addresses this concern.

¶ 30         The State has tried to justify its analysis by noting that neither defendant in

       this case nor any of the defendants in cases cited by the parties in their briefs were

       charged for every blow during their assaults. However, this argument would put the

       limiting principle fully within the discretion of the State. Regardless of the fact that
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       the State did not charge a defendant for each blow, the State’s argument would leave

       open the door such that the State could charge for each blow. We decline to leave such

       ambiguity in the law such that the State could, but may choose not to, charge a

       defendant for every punch thrown in a fight when the legislature has shown no

       intention to criminalize the conduct at that level of granularity. To do so would be to

       abdicate our responsibility to interpret the laws passed by the legislature in

       accordance with their plain meaning and intention. Furthermore, it would abolish

       any limiting principle and would leave a trial court powerless to determine whether

       there was sufficient evidence of multiple assaults since evidence of each punch could

       constitute a separate assault under the State’s proposed legal schema.

¶ 31         We now turn to the facts of this case to determine whether there was

       substantial evidence of more than one assault. In the light most favorable to the

       State, we conclude that there could be sufficient evidence of a distinct interruption

       between assault(s) in the trailer and the assault(s) in the car to submit the issue to

       the jury.

¶ 32         Davis testified to being beaten for approximately four hours total. She testified

       that in the trailer defendant hit her “over and over” during a continuous, non-stop

       beating for at least two hours until she vomited. She also testified that she was beaten

       during the two-hour car ride home to Sims when defendant hit her on the side of her

       head and pulled off the road several times to strangle her. But Davis also indicated
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       that there was a distinct interruption between the attack in the trailer and the attack

       in the car.

¶ 33          After the beating in the trailer, but before defendant began beating Davis in

       the car, Davis testified that she wiped down the mattress cover and took the sheets

       off of the bed, that she took their luggage out to the car, and that defendant got his

       daughter off of the couch and put her in a car seat in the back seat of the car. This is

       substantial evidence of a distinct interruption between occurrences in the trailer and

       those in the car. The process of cleaning up and packing up was an intervening event

       interrupting the momentum of the attack. In addition, the beating in the trailer was

       distinct in time and location from the beating in the car. The jury could have found

       that there was a distinct interruption between when the first assault concluded with

       Davis vomiting on the bed and when defendant resumed his attacks in the car during

       the drive home.

¶ 34          Defendant draws inferences from Davis’s testimony that the entirety of the

       assault took place in the trailer. But in the light most favorable to the State, the

       following testimony is substantial evidence that defendant also assaulted Davis in

       the car:

                            We continued on, and as we were on the way home,
                     the whole time he is still hitting me upside this side of my
                     head where I had the ruptured eardrum. He—I remember
                     him pulling off the road, jacking me up to the ceiling of the
                     car, strangling me. There were several times—his arms are
                     long, so he could reach over in my car—he would make me
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                    take my seat belt off, open the door and tell me he was
                    going to push me out.

                           He pulled off the road several times and continued
                    to do that. I think it was about three times with the seat
                    belt and he’s going to push me out of the car.

       Accordingly, we conclude that the jury could find that the beating in the trailer and

       the beating in the car were distinct assaults.

¶ 35         The State charged defendant with at least two assaults for his conduct in the

       trailer: assault on a female involving the headbutt to the forehead and assault with

       a deadly weapon inflicting serious injury resulting in the fractured nose. As noted

       above, different injuries or different methods of attack standing alone are insufficient

       evidence of a distinct interruption. The State presented no evidence indicating that a

       distinct interruption occurred in the trailer. Even in the light most favorable to the

       State, all of the evidence indicated that it was an ongoing, continuous attack.

       Accordingly, there is substantial evidence of only one assault in the trailer. On

       remand, the trial court should vacate the judgment for the assault on a female (No.

       16CR55325, involving the headbutt to the forehead), and enter a new sentence for

       the remaining consolidated offenses.

                                       VI.    Conclusion

¶ 36         The trial court did not err by denying defendant’s motion to dismiss all but one

       of the assault charges because, in the light most favorable to the State, there was

       sufficient evidence of two assaults—one in the trailer and one in the car—to go to the
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jury. The evidence was not sufficient to show two assaults in the trailer as there was

no showing of a distinct interruption in what was described as a non-stop, several

hour attack in the trailer. Accordingly, we modify and affirm the decision of the Court

of Appeals.

        MODIFIED AND AFFIRMED; REMANDED FOR RESENTENCING

        Justice BERGER did not participate in the consideration or decision of this

case.
